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                       Exhibit E
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                   Commissioner Pamela Jones Harbour

      Remarks Before FTC Exploring Privacy Roundtable
                      Washington, D.C
                     December 7, 2009


Introduction

       Welcome back from lunch, and thank you for the opportunity to offer a few thoughts to

begin the afternoon.

       As many of you know, my time at the FTC is coming to a close. Throughout my term,

privacy issues have been among my highest priorities. I am encouraged that the Commission,

through this roundtable series, is now engaging stakeholders in a holistic discussion of privacy. The

2007 Ehavioral Town Hall initiated an important conversation by focusing attention on behavioral

targeting.   But even more importantly, the Town Hall raised the key questions that have since

triggered a return to first principles, as the FTC re-evaluates the frameworks it uses to analyze

privacy.



More Data = Need for Greater Attention to Privacy

       As part of its promise of change, the current Administration has embraced technology and

innovation, along with a new era of openness. But real change cannot just be aspirational. It

requires concrete action. And unfortunately, with respect to privacy, I believe action has not been

a high enough priority to date. I certainly do not intend to criticize Representative Boucher’s efforts

to craft legislative guidance on behavioral advertising. But as I have previously stated, the United


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States needs comprehensive privacy legislation. If we continue the piecemeal approach to privacy

in this country, we merely push aside the underlying issues.

       The privacy debate goes far beyond online advertising, because behavioral targeting

represents just one aspect of a multifaceted privacy conundrum. Data collection, aggregation, and

use (as well as reuse, sale and resale) are driving the creation of on- and offline “digital dossiers.”

Capturing data reflecting individual interests and habits is an enormous and growing business –

evidence that consumer privacy is under siege.

       Online advertising is an enormous source of information collected about consumers, and

serves as an important lens to focus our understanding of data collection and use. Most consumers

cannot begin to comprehend the types and amount of information collected by businesses, or why

their information may be commercially valuable. Data is currency. The larger the data set, the

greater potential for analysis – and profit.

       Collection of consumer data is by no means new. Census information, credit reports, and

Nielsen data have existed for decades. The Internet, however, enables the creation of vastly larger

quantities of consumer data. These data are collected every time we send email, update status on

a social networking site, read a news article, run a search, or make an online purchase.

       Of course, these technologies have the potential to offer valuable benefits to consumers. The

problem, however, is that many consumers are completely unaware of the privacy implications of

these services, which makes it difficult for consumers to exercise informed choices about the sites

they visit and the data they disclose. In many instances, consumers pay for “free” content and

services by disclosing their personal information. Their data are then used to generate targeted

advertising that subsidizes online activities.



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        I am especially troubled by the asymmetry between consumer perceptions and business

realities. If consumers do not comprehend how their personal information is collected and used, it

is impossible for them to knowingly consent to either disclosure or use. And once data are shared,

they cannot simply be recalled or deleted. The cumulative consequences for consumers are

magnified, whether they realize it or not.

        It is possible that small, discrete disclosures of information do not raise concerns for an

individual consumer. But large aggregations of data, based on a lifetime of commercial activity,

might evoke a different response. I fear we may reach a “tipping point” whereby consumers decide

they want to exercise greater control over the use of their data, but their attempts to exercise control

become futile, because so much of their digital life already has been exposed.

        Industry attempts to provide notice and choice to consumers have been insufficient thus far.

I hope we would all agree that disclosures about information collection, use, and control are not

meaningful if they are buried deep within opaque privacy policies. Even if we can decipher the

cryptic disclosures, they provide consumers with no meaningful access or choice, which renders

those concepts largely illusory. We have strayed far from the Fair Information Practices that should

serve as a baseline for any comprehensive privacy legislation.

        All of this matters because consumers really do care about their personal privacy, and are

willing to take steps to protect it. The findings of the Turow/Hoofnagle report conclude that 66

percent of American adults reject tailored ads to begin with. That number increases to over 75

percent when consumers are actually educated about the relevant marketing techniques. Yet,

companies are not delivering the privacy protections that consumers prefer.

        Even where consumers have the ability to opt-out, the effects are limited. If consumer data

are unavailable from one source, often they can be obtained from another. Flash cookies and other

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technology largely circumvent cookie controls. We may soon long for the day when all we worried

about were cookies. For every company crafting a response that addresses notice, choice, or

transparency, there are several more firms trying to parse and evade the intent of Commission

guidance. We have entered a digital arms race, and the current outlook is troubling.



Privacy = Consumer Protection + Competition

       Privacy issues are important enough that the Commission should use every possible tool at

its disposal. During my term as a Commissioner, I have been immersed in both consumer protection

and competition issues. I have steadfastly argued that the Commission should apply its competition

expertise to the privacy arena.

       For example, when the Commission approved the Google/DoubleClick merger in December

2007, I wrote a dissenting statement that, among other things, highlighted the nexus between privacy

and competition. While my colleagues at the time disagreed with my premise, subsequent changes

in the marketplace have reinforced the validity of my concerns, as well as my premise that privacy

protection is increasingly viewed as a non-price dimension of competition.

       My dissent in Google/DoubleClick proposed the concept of a market for data itself, separate

from markets for the services fueled by the data. The dissent discussed John Battelle’s “database

of intentions” concept, which he describes as the “aggregate results of every search ever entered,

every result list ever tendered, and every path taken as a result.” Battelle asserts that no single

company controls this collection of information, but posits that a few select companies share control.

One of my key concerns in Google/DoubleClick was that the merged entity might move closer to

dominating the database of intentions, and that the network effects generated by combining the two

firms might have long-term negative consequences for consumers. In response to questions raised

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during the concurrent U.S. and EU review of the proposed Google/DoubleClick merger, Google

assured regulators that the deal was not motivated by a desire to enter the behavioral advertising

market. In March of this year, however, the company did in fact begin to engage in interest-based,

or behavioral, advertising.

       And last month, Google purchased mobile advertising company AdMob. This acquisition

enhanced Google’s ability to extend its advertising strategy into the fast-growing mobile market –

a important market in which I hope, and expect, the Commission will remain vigilant.

       Turbulent economic times are forcing companies to seek out new sources of revenue. Those

sources are driven, in turn, by increasingly large amounts of data, as well as the ability to mine the

various connections between pieces of data. As firms continue to develop new data-based markets –

including, for example, cloud computing and smart grid services – we must engage in more serious

inquiries regarding both the privacy and competition issues that affect consumers.

       It is worth noting that, to the extent one might define a putative market for consumer data,

recent mergers have further concentrated the competitive landscape. It may also be the case that

Comcast’s announced acquisition of NBC from GE should be analyzed from both competition and

consumer protection angles.

       In any event, competition on the basis of privacy protection is likely to increase as consumer

awareness grows. The issues raised by data collection and use provide ripe opportunities for

companies to develop pro-consumer privacy tools, and to market these features to distinguish

themselves from competitors.




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Conclusion

       I know the Commission will continue to be the thought leader on privacy. I will certainly

do my part to push the Commission, as I have done for six years now, by challenging mainstream

opinions and asking tough questions. Wherever the conversation may lead, I am proud of the efforts

of talented Commission staff, and extremely gratified that we have reached the point where we are

hosting today’s roundtable.

       Thank you.




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